 1

 2

 3

 4

 5

 6

 7
                                    UNITED STATES BANKRUPTCY COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
 9
       In re:                                              Case No. 20-40229-BDL
10
                                                           ORDER APPROVING ATTORNEY’S
11     BONNIE JEANNE PARKER                                COMPENSATION
12                                     Debtor(s).

13           THIS MATTER came before the Court on the Attorney’s Application for Compensation in a
14   Chapter 13 Case filed by        Ellen Ann Brown                                       . (“Applicant”).
15   Based on the application,

16           It is hereby ORDERED that:
17
             1.     Applicant is awarded compensation of $__5000.00_____________________ as an
18           administrative expense under 11 U.S.C. § 503(b).

19           2.     The compensation shall be paid according to the confirmed plan or, if a plan is never
             confirmed, prior to dismissal or conversion (subject to applicable Trustee’s fee).
20
             3.     Unless the Court orders otherwise, if this case is dismissed or converted after plan
21           confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to debtor(s)
22

23

24

25


     Order Approving Attorney’s Compensation
     Local Forms W.D. Wash. Bankr., Form 13-10
     Eff. 12/14
             in care of the Applicant, if the Applicant is the debtor(s)’ attorney at the time of dismissal or
 1           conversion.
                                               / / /End of Order/ / /
 2
     Presented by:
 3
     /s/ Ellen Ann Brown
 4                                               _
     Ellen Ann Brown WSB 27992
     Attorney for Debtor(s)
 5   1700 Cooper Point Rd SW #C5
     Olympia, WA 98502
 6   888-873-1958
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


     Order Approving Attorney’s Compensation
     Local Forms W.D. Wash. Bankr., Form 13-10
     Eff. 12/14
